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 1 JOSEPH A. WELCH, ESQ. (SBN 119312)
   HINTZ & WELCH
 2 1006 4th Street
   Sacramento, CA 95814
 3 Telephone: (916) 444-5203
   Facsimile: (916) 444-8702
 4
   Attorneys for Defendant
 5 KEN SARNA

 6
                                      IN THE UNITED STATES DISTRICT COURT
 7
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           CASE NO. 2:10-CR-00327-003
10
                                        Plaintiff,       STIPULATION AND ORDER CONTINUING
11                                                       JUDGMENT & SENTENCING DATE
                                v.
12                                                       DATE: JUNE 11, 2015
     KEN SARNA,                                          TIME: 9:30 A.M.
13                                                       JUDGE: TROY L. NUNLEY
                                        Defendant.
14

15
                                                     STIPULATION
16
             Plaintiff United States of America, by and through its counsel of record, and defendant Ken
17
     Sarna, by and through his counsel of record, hereby stipulate that the judgment and sentencing in the
18
     matter presently set for May 7, 2015, at 9:30 a.m. may be continued to June 11, 2015, at 9:30 a.m. for a
19
     judgment and sentencing.
20
             The parties have stipulated that the current date for the imposition of judgment and sentencing
21
     may be continued to June 11, 2015, at 9:30 a.m.
22
             Proposed Presentence Report                                 completed
23
             Counsel’s written objections to the Presentence Report      completed
24
             Presentence Report shall be filed with the Court            completed
25
             Motion for Correction of the Presentence Report             May 28, 2015
26
     ///
27
     ///
28

      Stipulation and Order to Continue Sentencing        1
              Case 2:10-cr-00327-TLN Document 255 Filed 04/24/15 Page 2 of 2


 1          Reply, or Statement of Non-Opposition                       June 4, 2015

 2          Judgment and Sentencing Date                                June 11, 2015

 3

 4 IT IS SO STIPULATED.

 5 DATED: April 22, 2015                                 BENJAMIN B. WAGNER
                                                         United States Attorney
 6
                                                         /s/ Michele M. Beckwith
 7                                                       MICHELE M. BECKWITH
                                                         Assistant United States Attorney
 8
                                                         For the UNITED STATES OF AMERICA
 9

10 DATED: April 22, 2015                                 /s/ Joseph A. Welch
                                                         JOSEPH WELCH
11
                                                         For defendant KEN SARNA
12

13
                                                    ORDER
14

15          IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
16
     parties that the judgment and sentencing in this matter currently scheduled for 9:30 a.m. on May 7,
17
     2015, is continued to June 11, 2015, at 9:30 a.m. for judgment and sentence.
18

19 this 24th day of April, 2015.

20

21                                                          Troy L. Nunley
22                                                          United States District Judge

23

24

25

26

27

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     Stipulation and Order to Continue Sentencing       2
